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February 9, 2021

Via ECF

The Honorable Lewis J. Liman
Judge
United States District Court for the Southern District of New York
500 Pearl Street
New York, NY 10007

Re:    HC2, Inc. v. Delaney, 20-03178-LJL

Dear Judge Liman:

Reference is made to the letter dated today from plaintiff’s counsel requesting a stay of
this action pursuant to 11 U.S.C. § 362 due to my client’s filing of a Chapter 7 petition.
Mr. Delaney is representing himself pro se in that action using a pro bono legal service
Upsolve, Inc. per its letter on the last page of his petition and I am not representing him
in connection with his Chapter 7 petition and was not aware of this filing. We have filed
a motion to dismiss for lack of subject-matter jurisdiction and respectfully request that this
not be stayed. We have sent the mediator our mediation statement and are also planning
to participate in the mediation tomorrow unless the Court orders otherwise.

Respectfully submitted,
Robert Rotman
Robert Rotman, Esq.
